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                              IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF UTAH


    REMY KUSH,                                                 ORDER ADOPTING REPORT AND
                                                                   RECOMMENDATION
            Plaintiff,

    v.                                                        Case Nos. 2:24-cv-00639-RJS-JCB (Lead)
                                                                     2:24-cv-00845-HCN-DBP
    SYDNEE DICKSON, Utah State Board of                             2:24-cv-00858-AMA-CMR
    Education Superintendent, et al.,
                                                                Chief District Judge Robert J. Shelby
            Defendants.                                          Magistrate Judge Jared C. Bennett


           Before the court are two related Reports and Recommendations issued in the above-

captioned cases by Magistrate Judge Jared C. Bennett on March 6, 2025. The first Report

recommends Plaintiff’s Complaint be dismissed with prejudice. 1 The second Report

recommends that Plaintiff be designated as a restricted filer in this district. 2

           Plaintiff initiated this action on August 28, 2024, against Sydnee Dickson, Utah State

Board of Education Superintendent; Scott Jones, Utah State Board of Education Superintendent;

Utah Governor Spencer Cox; Former Utah Governor Gary Herbert; U.S. Department of

Education; T-Mobile Corporation; AT&T Corporation; and Verizon Corporation. 3 On

September 20, 2024, Plaintiff’s case was referred to Magistrate Judge Jared C. Bennett. 4

           On October 8, 2024 Judge Bennett reviewed the sufficiency of Mr. Kush’s Complaint

under the authority of the IFP Statute. 5 After analyzing each of Mr. Kush’s claims, the court


1
    Dkt. 13, Report and Recommendation to Dismiss with Prejudice (Report Dismissing Case).
2
 Dkt. 14, Report and Recommendation to Designate Kush as Restricted Filer (Report Designating Kush as
Restricted Filer).
3
    Dkt. 1, Complaint.
4
    Dkt. 6, Minute Entry.
5
    Dkt. 9, Amended Memorandum Decision and Order to Amend Complaint.

                                                         1
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concluded that it lacked subject-matter jurisdiction over Mr. Kush’s claims, Mr. Kush failed to

state a claim, and his existing factual allegations appeared to be frivolous. 6 However, the court

provided Mr. Kush with an opportunity to amend his Complaint by November 5, 2024, noting

that failure to submit an amended complaint may result in the dismissal of Mr. Kush’s action. 7

           Mr. Kush did not file an amended Complaint by the deadline set in the court’s order or

any time thereafter. Instead, Mr. Kush filed two other Complaints against substantially similar

defendants raising substantially the same claims. 8 The court subsequently ordered that Kush v.

Cox et al., Case No. 2:24-cv-00858-AMA-CMR and Kush v. Cox et al., Case No. 2:24-cv-

00845-HCN-DBP be consolidated into Kush v. Dickson et al., Case No. 2:24-cv-00639-RJS-JCB

(the lowest-numbered case). 9

           On March 6, 2025, Judge Bennet issued the pending Reports recommending this court

dismiss the Mr. Kush’s Complaint and designate him as a restricted filer in this district. 10 In

both Reports, Judge Bennett advised Kush of his right to object within fourteen days of service

pursuant to Federal Rule of Civil Procedure 72(b). 11 Judge Bennett further cautioned that failure

to object may constitute a waiver of objections. 12

           Federal Rule of Civil Procedure 72(b)(2) allows parties to file “specific written objections

to the proposed findings and recommendations” within fourteen days after being served with a

copy of the recommended disposition. When no objections are filed, the Supreme Court has


6
    Id.
7
    Id.
8
 See Dkt. 1 (Kush v. Cox et al., Case No. 2:24-cv-00858-AMA-CMR), Complaint and Dkt. 1 (Kush v. Cox et al.,
Case No. 2:24-cv-00845-HCN-DBP), Complaint.
9
    Dkt. 10, Order Consolidating Cases.
10
     Report.
11
     Report Dismissing Case at 12; Report Designating Kush as Restricted Filer at 12–13.
12
     Id.

                                                          2
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suggested no further review by the district court is required, but nor is it precluded. 13 This court

reviews for clear error any report and recommendation to which no objections have been

raised. 14

           More than three weeks have now passed since the Reports were filed and Mr. Kush has

not objected. Accordingly, this court reviews the Reports for clear error. Having carefully

considered the Reports, the court finds no clear error. Thus, the court ADOPTS the Reports in

full. 15

                                                   CONCLUSION

           Plaintiff’s Complaint is DISMISSED. 16 The court approves and authorizes Mr. Kush to

be designated as a restricted filer in this district. The Clerk of Court is directed to close the case.

           SO ORDERED this 31st day of March 2025.

                                                                    BY THE COURT:


                                                                    _______________________
                                                                    ROBERT J. SHELBY
                                                                    United States Chief District Judge




13
  See Thomas v. Arn, 474 U.S. 140, 149 (1985) (“The [Federal Magistrate’s Act] does not on its face require any
review at all, by either the district court or the court of appeals, of any issue that is not the subject of an objection.”).
14
   See, e.g., Johnson v. Zema Sys. Corp., 170 F.3d 734, 739 (7th Cir. 1999) (“If no objection or only partial objection
is made [to a magistrate judge’s report and recommendation], the district court judge reviews those unobjected
portions for clear error.”) (citations omitted); see also Fed. R. Civ. P. 72(b) Advisory Committee’s Note to 1983
Amendment (“When no timely objection is filed, the court need only satisfy itself that there is no clear error on the
face of the record in order to accept the recommendation.”) (citing Campbell v. U.S. Dist. Court for N. Dist. of Cal.,
501 F.2d 196, 206 (9th Cir. 1974), cert. denied, 419 U.S. 879).
15
     Dkts. 13, 14.
16
   The court notes that, because this court consolidated Mr. Kush’s cases into this one, dismissal of this Complaint
closes the case.

                                                              3
